          Case 1:21-cr-00032-DLF Document 48 Filed 10/21/21 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :       Crim. No. 21-cr-00032 (DLF)
                                               :
               v.                              :
                                               :
GUY WESLEY REFFITT,                            :
                                               :
                       Defendant.              :

    MOTION IN LIMINE TO PERMIT GOVERNMENT TO ELICIT LAY OPINION
                 TESTIMONY ABOUT FIREARM HOLSTER

       The government respectfully moves in limine for an order allowing FBI Special Agent

Laird Hightower to testify that, in his lay opinion, the firearm holster visible in several anticipated

Government exhibits—several videos of Defendant Guy Reffitt at the Capitol, and still frames

from those videos—appears to be the same make and model of firearm holster visible in another

Government exhibit, a photo of a firearm holster found on a nightstand in Reffitt’s bedroom.

       Pursuant to Federal Rule of Evidence 701, a lay witness may offer opinion testimony if the

opinion is “(a) rationally based on the witness’s perception; (b) helpful to clearly understanding

the witness’s testimony or to determining a fact in issue; and (c) not based on scientific, technical,

or other specialized knowledge within the scope of Rule 702.” “Lay opinion is proper when it is

based upon personal knowledge of events that occurred in the case being tried.” United States v.

Williams, 827 F.3d 1134, 1156 (D.C. Cir. 2016).

       Here, SA Hightower will provide testimony that the holster depicted in these government

exhibits is a Blackhawk Serpa CQC concealment holster. This testimony will be based on his

own perception and experience. He is an experienced firearms trainer at the FBI and personally

owns several Blackhawk Serpa CQC concealment holsters.1 He is familiar with the unique



1 SA Hightower will testify that Blackhawk Serpa CQC concealment holsters contain small
          Case 1:21-cr-00032-DLF Document 48 Filed 10/21/21 Page 2 of 4




features of such holsters, including a level-one finger retention device, which must be depressed

by the user’s index finger in order to remove the firearm from the holster. This mechanism is

visible on the side of the holster. The government’s exhibit showing the holster found in the

defendant’s bedroom is on the left, below. One of the government exhibits taken from a video of

the defendant on January 6, 2021 is on the right, below:




Another government exhibit, which is a still photograph taken from a video of the defendant on

January 6, 2021 is below:




variations to fit different brands of firearms, and that the gun recovered from the holster in
Reffitt’s bedroom was a Smith & Wesson; SA Hightower will testify that he personally uses
these holsters for Glock handguns.
                                                   2
          Case 1:21-cr-00032-DLF Document 48 Filed 10/21/21 Page 3 of 4




       SA Hightower’s anticipated testimony will address a fact that will be in issue at the trial:

whether the defendant was armed with a firearm (housed in a holster) while he was at the Capitol

on January 6. SA Hightower’s testimony, which will establish that the defendant was carrying a

firearm in a Blackhawk Serpa CQC concealment holster, and that a holster of the same make and

model was found in the defendant’s bedroom, will assist the jury in determining that fact.

       Finally, SA Hightower’s testimony is not based on “scientific, technical, or other

specialized knowledge.” Rather, it is based on his own perception from reviewing video footage

and still photographs of the defendant on January 6, viewing a photograph of the holster found in

the defendant’s bedroom, and from owning and possessing a similar holster.

       In ruling on a similar motion in limine, Judge Kollar-Kotelly held that “the basis of these

[law enforcement] witnesses’ opinions must be made known to the jury in such a way that the jury

                                                3
          Case 1:21-cr-00032-DLF Document 48 Filed 10/21/21 Page 4 of 4




can assess the opinion and test the witness’ reasoning.” United States v. Robinson, No. CR 16-

98 (CKK), 2017 WL 2636517, at *3 (D.D.C. June 15, 2017). The government agrees. We

anticipate that SA Hightower will first testify about his own experience with firearms and holsters

to lay the foundation for the basis for his opinion about the defendant’s wearing of a holster (and

thus likely a firearm) at the Capitol on January 6.

                                         CONCLUSION

       Wherefore, the government respectfully requests that the Court grant the motion in limine

to allow SA Hightower to testify as to his lay opinion.

                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              Acting United States Attorney
                                              DC Bar No. 415793

                                           By:_/s/ Risa Berkower________________
                                              Jeffrey S. Nestler
                                              Assistant United States Attorney
                                              D.C. Bar No. 978296
                                              Risa Berkower
                                              Assistant United States Attorney
                                              NY Bar No. 4536538
                                              U.S. Attorney’s Office for the District of Columbia
                                              555 4th Street, N.W.
                                              Washington, D.C. 20530
                                              Phone: 202-803-1576
                                              Email: risa.berkower@usdoj.gov




                                                 4
